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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                 PLAINTIFF

V.                            CASE NO. 4:10-CR-220-01-DPM

ERRICK LARON RACY                                                        DEFENDANT

              MOTION TO WITHDRAW AS COUNSEL OF RECORD

      Comes Lott Rolfe, IV, and for his motion to withdraw as counsel of record states:

      1.     That the Defendant is appealing his sentence from the judgment that was

entered on January 10, 2012. Counsel has formally filed a Notice of Appeal on behalf of

the Defendant on January 18, 2012.

      2. Defendant previously retained Counsel to represent him in the current case.

The cost of his legal representation did not include the additional costs if he desired to

appeal his conviction.

      3.     The Defendant was sentenced to one hundred and twenty (120) months in

the Bureau of Prisons. Due to Defendant’s incarceration, he is unable to secure

monetary funds to continue the current representation on appeal and he is unable to pay

the costs and fees associated with an appeal. It is Counsel’s understanding that at the

sentencing hearing on December 15, 2011, the Court declared the Defendant to be

indigent for purposes of appeal.




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      4.     Due to Defendant’s inability to pay, Counsel requests that he be allowed to

formally withdraw as counsel of record, that the Defendant be declared indigent, and that

new Counsel be appointed to represent the Defendant for purposes of appeal.

      5.     If the Court is not inclined to allow Counsel to withdraw, then Counsel is

still requesting that Defendant formally be declared indigent and that Counsel be

formally appointed to represent him for purposes of appeal.

      WHEREFORE, Counsel prays that he be allowed to withdraw as counsel of

record, or, in the alternative, that the Defendant be formally declared indigent and that

Counsel be appointed to represent him on appeal.



                                              Respectfully submitted,


                                              /s/ Lott Rolfe, IV__________
                                              Lott Rolfe, IV
                                              Attorney for the Defendant
                                              1920 North Main, Suite 107
                                              North Little Rock, AR 72114
                                              (501) 604-4530
                                              Arkansas Bar No.: 97102


                             CERTIFICATE OF SERVICE

       I, Lott Rolfe, IV, do hereby certify that I have served a copy of the above and
foregoing pleading upon the United States Attorney’s Office, Post Office Box 1229,
Little Rock, AR 72203-1229, by electronic mail on this 18th day of January, 2012.

                                              /s/Lott Rolfe, IV_________________
                                              Lott Rolfe, IV

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